            Case 1:20-cv-00937-TSC Document 8 Filed 08/14/20 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  OMAR ALZOKARI,

                  Plaintiff,

                          v.                         Civ. A. No. 20-937 (TSC)

  U.S. DEPARTMENT OF STATE,

            Defendant.


            DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME

       Pursuant to Fed. R. Civ. P. 6(b), the United States Department of State (“State”), through

undersigned counsel, respectfully moves the Court for an extension of time of approximately

fourteen (14) days within which to file its Motion to Dismiss, up to and including Monday, August

31, 2020.

                                         BACKGROUND

       1.       On June 17, 2020, this Court ordered Defendant to file its motion to dismiss the

complaint on or before August 17, 2020. Simultaneously with the filing of its motion to dismiss,

Defendant is to produce to Plaintiff a certified administrative record and file a certified list of the

contents of the administrative record with the Court in accordance with Local Civil Rule 7(n). See

Minute Order dated June 17, 2020.

                               BASIS FOR EXTENSION REQUEST

       2.       Defendant respectfully requests a 14 day extension to file their motion to dismiss

and file a certified list of the contents of the administrative record with the Court. The newly

assigned AUSA, Heather Graham-Oliver, requests the additional time to prepare the motion

because previously assigned counsel has a family emergency and is on extended leave.
            Case 1:20-cv-00937-TSC Document 8 Filed 08/14/20 Page 2 of 3




                        ADDITIONAL REQUIRED INFORMATION

       3.      This is Defendants second request for an extension of time.

       4.      Pursuant to Local Civil Rule 7(m), counsel for the Defendants has conferred with

Plaintiff’s counsel; and Plaintiff=s counsel does not oppose the 14-day extension.

       Accordingly, Defendants respectfully request that the Court grant a 14-day extension of

time to file its motion to dismiss, up to and including August 31, 2020.

A proposed Order is herewith attached


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Dated: August 14, 2020                              Respectfully submitted,

                                                    MICHAEL R. SHERWIN
                                                    Acting United States Attorney

                                                    DANIEL F. VAN HORN
                                                    D.C. Bar No. 924092
                                                    Chief, Civil Division

                                                     /s/ Heather Graham-Oliver
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                                                2
          Case 1:20-cv-00937-TSC Document 8 Filed 08/14/20 Page 3 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  OMAR ALZOKARI,

                Plaintiff,

                        v.                              Civ. A. No. 20-937 (TSC)

  U.S. DEPARTMENT OF STATE,

         Defendant.


                                   [PROPOSED] ORDER

       Upon consideration of Defendants’ unopposed motion for extension of time, it is hereby

ORDERED that Defendants’ motion is GRANTED; and the deadline for the Defendant’s

motion to dismiss extended to August 31, 2020.



Date                                              United States District Judge
